    Case: 1:09-cr-00928 Document #: 105 Filed: 08/18/11 Page 1 of 6 PageID #:253




      A TRUE COPY-ATTEST
   THOMAS G. BRUTON,
                   -      CLERK
        By: s/ E. CALASANZ
          DEPUTY CLERK
U.S. DISTRICT COURT, NORTHERN
       DISTRICT OF - ILLINOIS
            July 21, 2022
Case: 1:09-cr-00928 Document #: 105 Filed: 08/18/11 Page 2 of 6 PageID #:254
Case: 1:09-cr-00928 Document #: 105 Filed: 08/18/11 Page 3 of 6 PageID #:255
Case: 1:09-cr-00928 Document #: 105 Filed: 08/18/11 Page 4 of 6 PageID #:256
Case: 1:09-cr-00928 Document #: 105 Filed: 08/18/11 Page 5 of 6 PageID #:257
Case: 1:09-cr-00928 Document #: 105 Filed: 08/18/11 Page 6 of 6 PageID #:258
